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                           IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

        Plaintiff,

v.                                                Civ. No. 12-758 JAP/ACT

TESLA MOTORS, INC., a Delaware
corporation,

        Defendant.


                   ORDER AMENDING CASE MANAGEMENT DEADLINES
                 AND RESCHEDULING RULE 16 SETTLEMENT CONFERENCE

        THIS MATTER comes before the Court on the parties’ Joint Motion to Amend Case Management

Deadlines and to reschedule the Rule 16 Settlement Conference [Doc. 12]. The Court finds the Motion is well

taken and the Case Management Deadlines and Rule 16 Settlement Conference will be amended and

rescheduled as follows:


        a)      Termination date for discovery:                                   March 29, 2013

        b)      Motions relating to discovery to be filed by:                     April 8, 2013

        c)      Pretrial motions other than discovery motions (including
                motions which may require a Daubert hearing) filed by:            April 12, 2013

        In addition, the Rule 16 Settlement Conference currently scheduled for Thursday, March 7, 2013,

is VACATED, and rescheduled for Thursday, May 23, 2013. Counsel are instructed to refer to the

original Order Scheduling Rule 16 Settlement Conference [Doc. No. 12] for deadlines and

instructions

        IT IS SO ORDERED.

                                                  _______________________________________
                                                  ALAN C. TORGERSON
                                                  United States Magistrate Judge
